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                             UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF VIRGINIA


SONY MUSIC ENTERTAINMENT, et al.,

         Plaintiffs,
                                                        Case No. 1:18-cv-00950-LO-JFA
v.

COX COMMUNICATIONS, INC., et al.,

         Defendants.



                                      NOTICE OF SUBMISSION

            Plaintiffs submit the attached unredacted Reply in support of Plaintiffs’ Motion to

     Compel, Gould Declaration, and Exhibit 3 (originally filed at ECF No. 185), in accordance with

     the Court’s July 23, 2019 Order Denying Motion to Seal (ECF No. 224).



       Dated: July 23, 2019                           Respectfully submitted,

                                                      /s/ Scott A. Zebrak
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                                CERTIFICATE OF SERVICE

       I certify that on July 23, 2019, a copy of the foregoing was filed electronically with the

Clerk of Court using the ECF system, which will send notifications to ECF participants.



                                                      /s/ Scott A. Zebrak
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